8:14-cr-00155-JFB-SMB          Doc # 253     Filed: 07/22/15    Page 1 of 1 - Page ID # 599




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:14CR155
                      Plaintiff,               )
                                               )
       vs.                                     )                   ORDER
                                               )
DOROTEO MANUEL PONCE,                          )
                                               )
                      Defendant.               )

       This matter is before the court on the motion of the government for a Rule 17.1
conference (Filing No. 248). The court held a telephone conference with counsel on July 22,
2015. The government was represented by Assistant U.S. Attorney Matthew R. Molsen. The
defendant was represented by Steven J. Lefler. Following a discussion with counsel
regarding the progression of the case, the motion will be granted and the court will hold a
conference pursuant to Fed. R. Crim. P. 17.1 .

       IT IS ORDERED:
       1.      A conference pursuant to Fed. R. Crim. P. 17.1 will be held in this case in
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, at 9:00 a.m. on August 26, 2015. All counsel or their representatives,
are required to attend with counsels’ calendars and be prepared to schedule all events in this
case on counsels’ calendars. The defendant shall be present for such conference.
       2.      The ends of justice have been served by scheduling such a conference and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the scheduling of the Fed. R. Crim. P. 17.1 conference, i.e., the time
between July 22, 2015, and August 26, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that counsel
require additional time to review the discovery materials, determine if any pretrial motions
should be filed, and adequately prepare the case for trial. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED this 22nd day of July, 2015.

                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
